                        Case 1-19-40822-cec                 Doc 7      Filed 02/15/19              Entered 02/15/19 17:19:37



      Fill in this information to identify the case:

                   Northeast Brooklyn Partnership
      Debtor name __________________________________________________________________
                                              Eastern
      United States Bankruptcy Court for the: ______________________             NY
                                                                     District of _________

      Case number (If known):    19-40822 (CEC)
                                _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     NYC Water Board                       718-595-7000                     Trade debt                                                                    $49,361.93
      PO Box 11863
      Newark, NJ 07101-8163

2     MDG Design & Construction LLC                                          Trade debt                                                                    $42,399.74
      1328 New York Avenue
      Huntington Station, NY 11746


3     NEBHDCo                               718-453-9490                     Contract arrears                                                              $41,263.23
      132 Ralph Ave.
      Brooklyn, NY 11233

4     NEBHDCo                               718-453-9490                     Contract arrears                                                              $16,217.88
      132 Ralph Ave.
      Brooklyn, NY 11233

5     NYC Department of Finance                                              Taxes                                                                         $15,438.56
      100 Gold Street
      New York, NY 10038

6     Ivan Armstrong, CPA                   Ivan Armstrong                   Professional                                                                  $12,646.00
      45-09 30th Avenue                     212-233-2777                     services
      Astoria, NY 11103

7     J. Alam Home Improvement, Inc. Mohammed J. Alam                        Trade debt                                                                      $6,200.00
      230 Ocean Parkway, Apt D8      718-756-1800
      Brooklyn, NY 11218

8     E & S Maintenance                     Raizy Fisch                      Trade debt                                                                      $6,009.80
      PO Box 190917                         718-438-3434
      Brooklyn, NY 11219



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    Debtor        Northeast Brooklyn Partnership
                 _______________________________________________________                                              19-40822 (CEC)
                                                                                               Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9     National Grid                        718-643-4050                    Trade debt                                                                     $5,711.65
      PO Box 11741
      Newark, NJ 07101-4741

10    S.D.L. Appliance Repair Service      Anita                           Trade debt                                                                     $5,128.03
      727 Schenck Avenue                   (718) 927-1849
      Brooklyn, NY 11207

11    ConEdison                            800-758-2481                    Trade debt                                                                     $4,907.18
      JAF Station
      P.O. Box 138
      New York, NY 102766-0138

12    Superior Maintenance Supply Abe Deutsch                              Trade debt                                                                     $4,526.02
      162 Spencer St.             Cell 347 782 6406
      Brooklyn NY 11205           office: 718-676-1820

13    Rosenblum & Bianco, L.L.P.   Kathleen M. O'Connor                    Professional                                                                   $4,515.25
      100 Merrick Road, Suite 306E 516-255-1800 ext. 102                   services
      Rockville Centre, NY 11570

14    Advantage Wholesale Supply           Isaac Kleinman                  Trade debt                                                                     $4,403.01
      172 Empire Boulevard                 718-534-4509
      Brooklyn, NY 11225

15    Diamond Pump Electric Motor Co.      718-452-1430                    Trade debt                                                                     $3,756.19
      5511 Metropolitan Avenue
      Queens, NY 11385


16    New York Water Management Inc.       718-686-0040                    Trade debt                                                                     $3,252.05
      P.O. Box 190727
      Brooklyn NY 11219


17    Eldon V. Lessie                      Eldon Lessie 917-714-2442       Trade debt                                                                     $2,759.00
      292 Midwood Street, B5
      Brooklyn, NY 11225

18    SiteCompli, LLC               Ethan Maccoby                          Trade debt                                                                     $2,707.84
      53 West 23rd Street, 12th Fl. 845-493-1604
      New York, NY 10010

19    Cohn Reznick LLP                     617-648-1400                    Professional                                                                   $2,300.00
      1 Boston Place, Suite 500                                            services
      Boston, MA 02108

20    BXTERMINATOR                 Joseph Cordero, Owner                                                                                                  $1,435.16
      625 Southern Blvd., Suite 1A Cell: 917-355-2954                    Trade debt
      Bronx, NYT 10455




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